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12-Parson Jury
FlLED `
. 915!2018 22 _ PM
Flrm No..'ll$.'d DOROTHY 'OWN
IN THE C¥RCU!T CQURT OF COOK COUNTY, ILIJ_NGIS slam-ml o RK
coUN'rY nErARTmN'r,LAw mvlsloN °°°“c°" '"'
BENNIB vr-:NTo. m., ) 4 y
)
Plaintli}`1 )
) 2018L009602
v. ) 01
» )
SUPERION, INC. an lllinois corporation )
mdon mvERE-cARDozA, 3 mama-am ma:m..y
individually and as agent of SUPER.ION. )
INC., J
)
Dcfcndants. ]
§QMELAMLA!!

Plaintiff", BENNIE VENTG, IR., through his attorneys. SCHIFF GDRMAN LLC,
complaining of Dcfendants, SUPERION, INC., an lll£nois corporation and NOB KIVERB~
CARDOZA, individually and as agent of SUPERION, INC., states as foltowa:

This is a re-t'l!ed Complalnt.

A;L¢MMM _

1. Plaintiif, BENN!E VBNTO, JR. {hminmcr VENTO] ls a resident ofthe Swte f
Missourl.

2. At ali times m¥cvant heroin, Dcfondnnt SUPER.ION, INC. {hmfna£\er
supemom wm an minnis wrpors¢wn. aumuriwd w do hamm in she scm orozdarwmn.
with ils principfo business offices in Cook Cnunty, lllinois.

3. At all times relevant hcrnln, SUPE.RION operated a business as a motor card 1

and ompluyor mgistcred with the United States Dopanment ofTransportation (USDOT),

2118882.

   
 

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4. At all times reievant, it was the policy of'SUPERION to have its drivers and

  
 
    
   
 
   
 
 
 
  

employees abide by die USDOT Federni Motor Carrier Sef`ety R.eguiatiens (hereinaiter FMCS
as defined in 49 C.F.R. § 390.5 end elsewhere drexeln.
d 5. At ail times relevant hereln, Befendant NOE R!VERE-CARDOZA (hereineiter
RiVER.B-CARDOZA) was a reeident efthe City of Stiekney, County of Ceek, Stete of illinoi
6. On Febmary 24, 2016. and et eli times relevant herein, Interstate 44 wes a publi _-
vsghwey running in a generally east-mc direction in ne city efmm, sun er annum
‘I. At the aforementioned time and place, VENTO was operating a nnetnr~trelier i =
westbound direction en interstate 44 in tile City oi` 'l`uisa, Slate of Oklnhome.
8. At the time end place nii:)rer»nicil and at eil times relevant herein, RWERE»
,CARDOZA was operating a tractor-trailer for the use end beneiit of SUPERION.
9. The motor-trailer operated by RIVERE-CARDOZA was a "enmmeroiai motor
veitiele" as that term is defined by the FMCSR, specifically 49 C.I~`.R. § 390.5. nn
so. 'rhe mmr-miner opened by mvene~cAnnozA was owned md maintain
bysurr-:moN. "
l i. At the time and piece aforesaid Dei`endant RIVER.E-CARDOZA was opemtin
the tractor-trailer in a westbound direction en interstate 44 directiy behind VBNT€J's tractor-
trailer.
12. At the time and piece aforesaid and et all times reievent herein, Defendent
RiVERE-CARDOZA was an "employee” of SUPERION end a “driver" ofn"eemmerciel
vehicle" es thoee terms are defined by the FMCSR, specifieeily 49 C.F.R.. § 390.5.

y aEEd >¢9;§ ciH l~.ld£.€il. 3103 20 130

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13. At the time end place aforesaid end iit ali times relevant herein. Defendsnt

  
  
   

SUPERION was tire “employer" of RIVBRB»CARDOZA and a “rnotor carrier" en those terms
are defined by the FMCSR, specifically 49 C.F.R. § 390.5. n
14. Atthe time end place afem¢ld, and et all times relevant herein, Defendnrit
nivrnii-oAnDoZA opened under nn alimony oft)=rendim summons usoo'r mmr
ziirsoz. 1
iS. At the aforementioned time end picce, the front of the motor-trailer operated
RIVERE~CARDOZA eoilided with the rear of the vehicle operated by VEN’FO.
16. As o result of said eolllsion, VEN'I`O was injured end sustained damageii. __
17. Aiier said rear-end impch VENTO attempted to leave the highway to park his
vehicle in a safe area so as to exehl.nge information with RIVBB.£~Z-CARDOZA. z
is. mancmozii rome venro'sv¢hieiwn~ne mad, erred rim inner
and men verbally married and physician entered vr-:m‘o with a "nig,hr anew
19. Ae a result of reid attenk, VENTO was injured and sustained damages.
Zil. At tire time and piece aforesaid and at ell times reievant hereln, Defcndant

RfVERE-CARDOZA was acting in the course and scope oi`his employment relationship wl

SUPERION.

-v ii -
1-20. Piaintifi` restates end reelleges paragraphs l through 20 of the Ailegetions
Common to All Counts as paragraphs l through 20 of Coimt I cs though fiilly set forth

g died res en l~icise=). ama 20 no

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21. At all times relevant herein, l}otiencionte SUPER.ION and RIVERE~CARDOZA, l
and cash of them, had a duty to operate the tractor trailer with reasonable otto and caution so =-
not to injure persons or property lawfully entire roed.

22. Netwicemndrng said donee md in breach theme personam scranton md
RiVER.E»CARDOZA, end each oftitem, were guilty of one or more ofthe` following negligent 1
acre andfor omissions n

a. Opcrated the tractor-trailer at a speed greater than
reasonebie in violation of 625 iLCS 511]-501 and diembe
a violation of FMCSR. § 392.2; or

b. Operateci the eactor~traller at a speed greaterthen
reasonable in violation oFFMCSR § 333.i l 1(9); or

c. Faiied to keep a proper iooirout, failed to reduce spud, and
failed to stop or aitee' tire course of the tractor-trailerso as
to avoid hitting the vehicie directly in iiont; or

d. Feilcd to give proper warning of tire approach of the
tractor-trailer; or

e. Paiicd to exercise due care by avoiding a collision; or
f. Foiiowed the vehicle directiy in front more closely than
was reasonable and prt.tclent1 contrary to and in violation of

625 ILCS 5!'11-716 and therefore a violation ofFMCSB.§
392.2; or

g. Foilowed the vehicle in iiont more closciy titan was
reasonable and prudent in violation oi`FMCSR § 383.111
(16); or

h. Faileci to pay attention to the rood while operating a
commercial motor vehicle

23. As a direct and proximate cause of one cr more of the aforementioned neglige

acts and/or omissions of Defendants SUPBRION and RiVERE-CARDOZ.A, and each of _`

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F!LED m`¥& WMQ*IRZ';$DPM ZDfHMHJZ

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them, the front of the vehicle operated by RIVERE-CARDDZA collided with the rear of t
vehicle operated by VE.NTO. v

24. Aa a direct and proximate cause of one or more ofthe aforementioned negllg -
acts andfor omissions of SUFERIQN, INC. and RIVERE~CARDOM, and each ofthem,
Plalntifl`BENN¥E VBNTO, .iR. then and there sustained severe and permanent injuriea,' - - '
internally and extemally, which neeeaaltated the expenditure and will ln the future mcneal
the expenditure of large sums of`money for medical care and services related to hit injuries
and was and will in the fixture prevent him from attending to his duties and af}`alrs, and ha
lost and will ln the future cause him to lose the value of that time

WHER.EFORE, Plaintif?, BENN!E VENTO, }R.. demands judgment aga|nst Defenda
SUPER[GN, iNC., for the acts or omissions of NOE RiVERE-CARDOZA, in an amount

excess of the jurisdictional limits of this Court as well as costs concomitant with thin laws

- - lN.

through 20 ofCotmt II al though fully set forth.
21. At all times relevant hcrein. Defendant SUFER.¥ON had a duty to make sure
as arivrrr. wording alvaaa»caaooza, were lrrmwr¢dgrrvx¢ error approve Frdr.rrl ag..r
Carrier Safety Regulations and had the requisite skills, training and disposition to safely o » »
its tractor trailers with reasonable care and caution so as not to injure persons or property §
lawli.tlly on the road.
22. At aiI times relevant hereln, SUPERION knew or should have known that

RIVER.E-CARDOZA was not knowledgeable about the Federal Motor Cerrier Safety

;_ a§or.€ ’<F-':i di~l laidEEf!_ BLDE 30 90

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Regrzlations and that R.¥VERE-CARDOZA did not have the qualifieationa, sicilia or temperame

required to safely operate a commercial motor vehicle. n

23. Notwithstanding said duty, and in breach thereol`, SUPERION allowed and

empowered RlVERE-CARDOZA to operate its commercial vehicle and therefore was neglig `
in one or more ofthe following ways through ita acts and/or emissions

a. failed co exercise reasonable care in the hiring. training .~nrpervisionl and

retention of RlVERE-CARDOZA. specifically, where said Defendant kncw, or'

the exercise of reasonable care should have known that RIVERE-CAR.'DOZA '

not properly trained and should not have been retained to operate a commercial

vehiclo; or ?

b. carelessly entrusted the vehicle to a person without the skill, knowledge z

temperemeot, and training commensurate with solely operating a tractor trailer `

compliance with the FMCSR and the Stote laws governing such operation; or

o. knew or should have known of RNERE-CARDOZA‘$ propensity for vlolen
and to commit bodily harm to persons lawfully on the roedweya.

24. As a direct and proximate cause of one or more of the aforementioned negllge
acts and!or omissions of Defendant SUPER.ION, the front of the vehicle operated by RIVE ' l
CARDDZA collided with the marofthe vehicle operated by VENTG.

25. Aa a direct and proximate cause of one or more of the aforementioned negilge
are rra/rr marrero or separation amato vanro, ra. arm are arrrr retained arer d
permanent interim baer tammany md exomrrry, which necessitated car expenditure ard wu in
the future necessitate the expenditure ot` large sums ot` money for medical care and services '-
related to his injuries and was and will in the future prevent him from attending to his duties d
affaira, and has lost and will in the future cause him to lose the value ot' that time.

wnaaaronc, marrero emma vanto. ra. empowers minn near z
common rNc:., ia ar mount ar error coat jurisdictional omar areas court rr writ rs

costa concomitant with this lawsuit

3 E’BE‘i ><‘~’rl rla aldisert aloe zo co

FELEJE|ATE:MBMPM ZJ1H.NBE€1‘2

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1-23. Plsintlft`restates and realleges paragraphs l through 23 of Cormt l as paragrap
through 23 of Count lii.
24. As a direct and proximate cause ot`one or more of the aforementioned negllg- __

acts and/or omissions oleVT-§RE~CARDOZA, Plaintlfi'BENNlE VENTO. .lR. then and re
sustained severe and permanent injuries both internally and extemelly, which necessitated e
expenditure and will in the future necessitate the expenditure of large sums of money for ii
medical care and services related to his injuries and was and will in the fixture prevent him
from attending to his duties and affairs and has lost and will in the future cause him to load
the value of that time. _
WHER.EFORB, Plalntifi‘, BENN!E VBNTO, JR. demandsjudgment against Defand -
NOB RlVERB-CAR.DOZA, in en amount in excess of tirejurisdietional limits of this

weil as costs concomitant with this lawmrlt.

- C ' r._
1-23. Plaintiff restates and realloges paragraphs l though 23 of Count l as parsgrap

through 23 of Count IV. _
.'¢’A-. Foliowing the reanend crash, R.iVER.E-CARDOZA exited the u'aotorand ran

towards VEN°i`O's vehioie, brandishing s night stiel-c, and began heating on VENTO's vehioi
washing VENTO’s driver’s windshield and driver's door thereby demonstrating his ability

intention to harm VENTO.
25. RlVERE-CARDOZA told VEN'I`O that he would “beat him to s pulp."

5 allied lied cll~l hidOifFl. BLOE 20 130

Fu£n mm emma 240 m command

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25. By aggressively ap;nuaching, verbally accosting and physically confronting

  
  
  
 
 
 
 
  
 
 
  

VENTO, RlVER.E-CARDOZA actcd with intent of making ham\t'hi and offensive contact wi »';
VENTO.

27. R.lVERE-CARDOZA’: intentional actions piaccd VEN'I`O in apprehension cf `
immediate harmful and offensive contact.

28. As a direct and proximate cause nfthc actions of RIVER.E-CARD OZA and
SUPERION, and cach ofthcm, BBNN!E VBNTD, IR. then and thcrc sustained severe and
pcs~mancnt injuricc which ncccssitctcd thc cxpcnditurc and will in thc future nccc¢sitam thc
expenditure cf large sums of money fcr medical care and services miami to his injuries and
and will in thc fixture prevent him from attending tc his duties and affairs and has inst and wil£ z
the iiiturc cause him to iosc thc value of that timc.

wHEREFoRE. P:ainria”, BENNIE vENTo, JR. demands judgment against mcmann _
SUPER]ON, INC. and NDE RlVERE-CARDOZA, and each cf thcm, in an amount in excess

thc jurisdictich limits cf this Court as wcli as punitivc damages and costa concomitant with

lawsuit

1-»27. Piaintif’frcstatcc and malloch paragraphs l though 27 oi`Ccant iv as pm$‘a-": -'
l through 2? ofCount V -

28. RIVER£-CARDGZA intentionally shuck VENTU’s person with thc night sh:'¢
acting with thc intent of making physicai, harmful and offensive contact with VB`NTO'a bod

29- VENTO tiid nut ccnscnt to any physical contact by mVBRB.CARDQZA_

m ased rea dH water ama 20 110

H!.EBDATF£ EBRMEZ‘ACPM wm

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'.’¢fi. As n direct and proximate cause of the actions of R.`[VERE-CARDOZA, Piaint1
BENNIB VENTG, JR. then and there sustained severe and permanent injuries which necessitax _; -
the expenditure and will in the future necessitate the expenditure of large some oi`rnoney for n
medlcal care and services related to his injuries and was and will in the future prevent him irc
attending tn his dutiel and affairs, and has lost and wlil in the fixture cause him to lose the vein
ofthattime. n

WHBREFORE, Piainti£’i`, BENNIE VENTO, JR. demands judgment against Dci`endan :
SUPBRION, INC. and NOE RIVERE-CARDOZA. and each of them, in an amount in excess l
thc jurisdictional limits of this Court cs well as punitive damages and costs concomitant with s

lawsuit

 

1-29. Piaintiff restates and reolicges paragraphs i though 29 of Count V as peragrsp ';

through 29 of Count VI
30. The conduct of SUPER!ON and RJVERE~CARDOZA. as described herein w

extreme and outrageous that is, checking o person with a weapon after n motor vehicle collis n.
31. macmahon modes or umw ran his conduct had a high probable o

ones vsr~rro emotional desert `

32. VEi~l‘i`O did in fact suii'er severe and extreme emotional distress necessitating

treatman
33. As a direct and proximate cause ofthc outrageous conduct of SUPERION

RIVERE-CARDOZ.A, Plaintiff BENNIE VENTO, JR. then and there sustained severe and

permanent emotional distress which necessitated the expenditure and will in the fuhrre

Lz, shed

"E:i ciH hidl»i’l.l_ BLOE 20 150

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necessitate the expenditure of large sums of money for medical care end services related to his
injuries and was and will in the future prevent him from attending to his duties and affairs, and E`_
has lost and will in cna ttrture cause him to lose the value of that time. §

WHEREFORE, Pieintit=l`, BENNIE VENTO, J'R.. demands judgment against Det‘end
seventeen mc. and won mvene~c.tnoozn in m meter in excess sr the jurisdictional §|-

limits of this Conrt ca well as punitive damages end costs concomth with this iawsuit.

Respectti:lly submitted,
SCHIFF GORMAN LLC
By:
Counaei for Plaintlif
'i`hernas G. Gomtan
SCB'FF GGRMAN LLC
l E. Wseker Dr., l l“’ Floor
Chicsgo, lL 60601
(312) 345~72}0
’ - w
,MI.HIB§L!ANI_'EJ.MZIM

'i`hornas G. Gormen, upon eeth, states that if cailed will testify as follows
l am one of the attorneys for the Piaintiff, VENTO.
i arn familiar with the extent of damages suffered by VENTO; and

I reasonably believe that the total money damages suffered by him exceed 550.000.00 mcelus§ e
of costs.

sll`nomss§t.tiannsn

§EBLF._W!QABQU.

under weiner ns provided by nw pursuant w season ;-109 urine case grown news en
undersigned certifies that, at this time, the statements set forth in this instrument are true end
correct to the best of my knowledge information and belief. 1-

sr.QOss_Q..Qecmsn.

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432100[)028 Firrn I.D. 36699
IN THE CIRCUIT COURT OF CO(}K COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

BENNIE VENTO, JR, )
)

Plainti§f, )

)

v. ) No. 2018 L 009602

)

SUPERION, iNC, an filinois corporation )
and NOE RIVERE-CARDOZA, )
individuafly and as agent of SUPERION, )
INC., )
)

Dei`endants. )

NOTICE OF FILING

TO: Mr. Thomas G. Gorman
Schiff Gorman LLC
1 E. Wacker Dr., flth Floor
Chicago, IL 6060i
(312) 345-7210
tammun(EDschiff»lu.w.com

YOU ARE HEREBY NOTIFIED that on October 30, 2018, there was filed with the
Circuit Cour€ of Cook County, Iliinois, County Department, Law Division, Defendant Superion,
lnc.’s Notice of Removai, a copy of Which is attached hereto.

Andrew R. Manno

PROOF OF SERVICE

I certify that I Sei'ved this Notice by emailing a copy to each person to whom it is directed at
the address above indicated on October 30, 2018, prior to 5:00 p.m.

A;/L// ,¢ T-~»»~'

Andrew R. Maimo
CRAY HUBER HORSTMAN HEIL
& VanAUSDAL LLC
303 West Madison Street, Suite 2200
Chicago, IL 60606
Telephone: (312) 332-8520
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fault foundry

 

Civil Process
Service Lookup

 

THOMAS] DART

Search Results:

 

Sheriff # Name Address Status
CARDOZA, NOE NOT

02889226 RIVERE 4224 WENONHA AVE , STICKNEY, IL 60402 SERVED

Reason not served: No Contact

Date: 9/28/2018

Additional Remarks:

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By using this search too|, you acknowledge that you understand that it is solely your
responsibility to verify any information you may obtain herein before relying on said
information for any type of iegai action.

Cool< County Sl‘ieriff’s Ofr`lce Civi| Division » 50 W. Washington, Room 701
Chlcago, IL 60602 ¢ (312) 603-3365

 

 

EXH|B|T

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